                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                         DOCKET NO. 5:15-CR-73-RLV-DCK


 UNITED STATES OF AMERICA,                        )
                                                  )
                                                  )
                                                  )                     ORDER
 v.                                               )
                                                  )
 CARLOS A. FLORES,                                )
                                                  )
                  Defendant.                      )



        THIS MATTER is before the Court on Defendant’s “Motion for Inquiry as to Status of

Counsel” (document # 131) filed April 12, 2016. The Court held a hearing in this matter on April

14, 2016.


        Defendant is scheduled for docket call before District Judge Richard L. Voorhees on May

2, 2016. The Court heard from Defendant, appointed counsel Scott Gsell, and the Government.

Defendant states in conclusory fashion that Mr. Gsell is against him and not working in his best

interests. Mr. Gsell credibly represents that he is preparing for trial and has been engaging in plea

discussions with the Government.


        “Because the right to choose counsel is not absolute, it necessarily follows that a defendant

does not have an absolute right to substitution of counsel. As a general rule, a defendant must

show good cause in requesting a new appointed lawyer.” United States v. Mullen, 32 F.3d 891,

895 (4th Cir. 1994). Here, Defendant’s complaints do not establish good cause for the Court to




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appoint new counsel. Based upon the foregoing, the Court finds no basis to remove Mr. Gsell as

appointed counsel.


       Defendant states that he and his family are attempting to retain counsel. The Court advised

Defendant that he has the right to retain counsel of his choice. The Court also cautioned Defendant

that retained counsel may be reluctant to step in on the eve of trial.


       The Clerk is directed to send copies of this Order to counsel for the parties; and to the

Honorable Richard L. Voorhees


       SO ORDERED.


                                   Signed: April 15, 2016




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